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                                                                           FILE D
                                                                      RICHARD W. NAGEL
                                                                       CLERK OF COURT

                     IN THE UNITED STATES DISTRICT COURT
                                                                     20\BJUL 27 PH I: 34
                      FOR THE SOUTHERN DISTRICT OF OHIO               U.S. DIS TRICT COURT
                              WESTERN DIVISION                        SOUTHERN DIS T OHI O
                                                                      WEST DIV C!NCl t·:NATI

UNITED STATES OF AMERICA

                                             NO .       tll8CR 111
                                                    42 U . S.C . §1320a-7~(b) (2)
               vs.                                  18 u . s .c. §2
                                                                   JUDGE BLACK
TRACEY COUCH


                                                INFORMATION


THE UNITED STATES ATTORNEY CHARGES :


                                   COUNT 1


          On   or    about   May    28 ,     2015 ,    in   the    Southern

 District      of    Ohio    and    elsewhere ,       defendant    TRACEY

 COUCH,        did knowingly and willfully cause the payment

 of a remuneration to a known med i cal provider , t hat is ,

 $2 , 200.00, directly and indirectly , overtly and covertly ,

 in return for        arrangi ng    for the pu r chase and order of

 goods,    services and i terns ,          specifically,     prescript ions

 for a Fentanyl Spray manufactured by the Pharmaceutical

 Company that employed defenda n t TRACEY COUCH,                  for which
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  payment      was   made   in   whole   or       in   part   by Medi care ,   a

 federal heaJth care program.

       All     in violation of 42 U.S .C.              §   1320(a)-7 b ( b ) (2)   and 18

u . s .c.   §2 .


                                         BENJAMIN C . GLASSMAN
                                         Un1 e d States Attorney




                                             VADOR A. DOMINGUEZ (00562 32)
                                         Ass ist a n t United States Attorney




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